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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

UNITED STATES OF AMERICA,   )
                    Plaintiff,
                            )
                            )
         v.                 )                       No. 19 CR 00573
                            )                       Judge Edmund Chang
ROBERT WAKSMUNDZKI          )
                 Defendant. )

                   MOTION FOR COMPASSIONATE RELEASE

       Now comes the defendant, Robert Waksmundzki, by and through his

attorney, Steven R. Hunter, after having exhausted all avenues with the

Bureau of Prisons, and respectfully moves this court, pursuant to the First

Step Act, 18 U.S.C. § 3582(c)(1)(A)(i), to reduce the sentence of Robert

Waksmundzki to time served and order him to be released from custody at CI-

North Lake as soon as practicable and consistent with the judgment of medical

personnel.

       Robert Waksmundzki pled guilty to one count of Conspiracy to Commit

Criminal Infringement of a Copyright and one count of Filing a False Tax

Return. He was sentenced to 10 months in the Bureau of Prisons and has a

release date of January 31, 2021. He is currently incarcerated at North Lake

CI, which is a private, for-profit facility run by the GEO Group.

I.     Statutory and regulatory framework

       The statutory and regulatory framework for compassionate release was

described in detail in United States v. Hill, 19-cr-00038, (D.Conn. May 19,
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2020). “Federal law allows a court to grant a ‘compassionate release’ motion to

reduce a federal prisoner’s sentence for ‘extraordinary and compelling

reasons.’ 18 U.S.C. § 3582(c)(1)(A)(i). Previously it was only the BOP that could

file this kind of motion, but amidst widespread complaints about the failure of

the BOP to file motions on prisoners’ behalf Congress amended the law with

the First Step Act of 2018, Pub. L. No. 115-391, 132 Stat. 5194 (2018), to allow

prisoners the right to file their own motions for a sentence reduction if they

first exhaust the statute’s procedures for initially making a request to the

warden to file a motion on their behalf. See United States v. Pippin, No. 16-cr-

266, ECF No. 122 (W.D. Wash. May 20, 2020) (granting compassionate release

to a 50-year-old CP defendant with “multiple chronic medical conditions” who

had 28 months left on an 84 month sentence and was serving his time at FCI

Lompoc.); United States v. Nicholas Pagliuca, 17 Cr. 432 (CS), Dkt. No. 63

(S.D.N.Y. May 18, 2020) (granting 69-year-old CP defendant with diabetes and

heart issues compassionate release after serving 80 percent of 36-month

sentence); United States v. Kurtz, 16-cr-20036, ECF No. 40 (D. Kan. May 12,

2020) (granting compassionate release to 73-year-old CP defendant

hospitalized with COVID-19, who spent 18-20 days on a ventilator, “was non-

responsive, non-verbal,” and whose “prognosis was poor”); United States v.

Connell, ---F. Supp. 3d---, 2020 WL 2315858, (N.D. Cal. May 8, 2020) (granting

compassionate release to 69-year-old CP defendant with numerous chronic

conditions serving year-and-a-day sentence at USP Lompoc); United States v.

Adam Field, No. 18 Cr. 426 (JPO), Dkt. No. 38 (S.D.N.Y. May 4, 2020)


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(granting CP defendant with hypertension and “nonphysical health conditions”

incarcerated at FCI Danbury compassionate release) United States v. Fischman,

No. 16-cr-00246-HSG, 2020 WL 2097615 (N.D. Cal. May 1, 2020) (granting

compassionate release to 72-year-old convicted of possession of CP who had

tested positive for COVID-19 and was incarcerated at Terminal Island; had

approximately four months left on 70-month sentence); United States v. Dillard,

Case No. 1:15-cr-170-SAB, Dkt. No. 71 (D. Idaho Apr. 27, 2020) (53-year-old

with grievous health problems granted compassionate release after serving

approximately half of 87-month sentence for second federal non-production CP

offense); United States v. Sawicz, No. 08-cr-287, 2020 WL 1815851 (E.D.N.Y.

Apr. 10, 2020) (releasing child-pornography offender with hypertension

incarcerated at FCI Danbury with less than 5 months left on his

sentence);United States v. Almontes, 2020 WL 1812713, at *1 (D. Conn. 2020).

      If a prisoner has satisfied the statute’s exhaustion requirement, section

3582(c)(1)(A) establishes several criteria for a court to consider when deciding

whether to grant the motion for a sentence reduction. First of all, there has to

be an “extraordinary and compelling reasons” to warrant a sentence

reduction. 18 U.S.C. §3582(c)(1)(A)(i). The statute does not further define this

term but it instructs courts to consider whether a sentence reduction is

‘consistent with applicable policy statements issued by the Sentencing

Commission.’ Ibid. Congress has separately directed the Sentencing

Commission to ‘describe what should be considered extraordinary and

compelling reasons for sentence reduction, including the criteria to be applied


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and a list of specific examples,’ while also advising that ‘[r]ehabilitation of the

defendant alone shall not be considered an extraordinary and compelling

reason.’ 28 U.S.C. §994(t). Hill, Id.

      In accordance with this instruction from Congress, the Sentencing

Commission has issued a policy statement in the U.S. Sentencing Guidelines

that sets forth criteria for what constitute ‘extraordinary and compelling

reasons.’ See U.S.S.G. §1B1.13 cmt. n.1 (2018). The commentary provides, for

example, that ‘extraordinary and compelling reasons exist, if the defendant ‘is

suffering from a terminal illness’ or if the defendant otherwise has a serious

condition ‘that substantially diminishes the ability of the defendant to provide

self-care within the environment of a correctional facility and from which he or

she is not expected to recover.’ Ibid. cmt. n.1(A). The commentary further

provides for a catch-all ‘Other Reasons’ that ‘[a]s determined by the Director of

the Bureau of Prisons, there exists in the defendant’s case an extraordinary

and compelling reason other than, or in combination with, the reasons

described in subdivisions (A) through (C).’ Ibid. cmt. n.1(D).

      As numerous courts have recognized, the Sentencing Guidelines have

not yet been revised to bring them into conformity with the First Step Act’s

authorization for defendants to bring their own motions after exhausting

administrative procedures. Therefore, to the extent that the Guidelines

commentary purports to vest authority solely with the BOP to make a

determination of ‘Other Reasons,’ this delegation is no longer exclusive; courts

also have independent authority to decide whether there are “Other Reasons”


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that amount to “extraordinary and compelling reasons” to grant a motion for

sentence reduction. See United States v. Marks, 2020 WL 1908911, at *5-7

(W.D.N.Y. 2020); United States v. Haynes, 2020 WL 1941478, at *14 (E.D.N.Y.

2020) (collecting cases); United States v. Pinto-Thomaz, ––– F. Supp. 3d ––––,

2020 WL 1845875, at *2 (S.D.N.Y. 2020) (same); Almontes, 2020 WL 1812713,

at *3 (same).

        In addition to determining if ‘extraordinary and compelling reasons’ exist

for a sentence reduction, a court must also “consider the factors set forth in 18

U.S.C. §3553(a) to the extent that they are applicable.” 18 U.S.C. §3582(c)(1)(A).

Therefore, a court must examine the same factors it did when it initially

sentenced the defendant, including the nature and circumstances of the crime,

the defendant’s history and characteristics, and the multiple purposes of

sentencing, such as providing just punishment, deterring crime, protecting the

public from further crimes by the defendant, and providing the defendant with

rehabilitation. See 18 U.S.C. §3553(a). In addition, a court must determine that

‘[t]he defendant is not a danger to the safety of any other person or to the

community, as provided in 18 U.S.C. §3142(g).” U.S.S.G. §1B1.13(2).’ United

States v. Hill, 19-cr-00038, (D.Conn. May 19, 2020).

II.     Factors applying to Robert Waksmundzki

        Robert Waksmundzki suffers from a serious medical condition that

places him at a much higher risk of death, if he contracts the Covid-19 virus.

In 2014, he saw a cardiologist for heart palpitations. (See Exhibit A Medical

Records, filed separately under seal). The first time he met with counsel in


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counsel’s office, he nearly passed out and had to lie down on a couch. At his

initial orientation at his assigned Bureau of Prisons institution, CI North Lake,

Mr. Waksmundzki suffered a heart related episode. His blood pressure

dropped, and he did pass out. Medical staff determined that he needed an

EKG and to see a cardiologist. According to the CDC, a serious heart condition

is a heightened risk factor for death or serious illness from the Covid-19 virus.1

Medical care of this nature, in normal times, is provided by a local hospital.

However, the North Lake CI facility is in crisis and is unable to provide medical

care. In their own words they admit this, stating “Right now we are in the

middle of a national pandemic. As soon as the local medical facilities re-open

we will make sure everyone gets what they need.” (See Exhibit B, filed under

seal). Robert Waksmundzki requested that he receive treatment for his heart

condition on May 4, 2020.

           On that date, Robert Waksmundzki submitted a request for

compassionate release. The request was ignored. After two weeks he

contacted counsel for help. Counsel requested that Robert obtain

documentation of his request for compassionate release, and Robert informed

counsel that North Lake CI also ignored his request for documentation for

compassionate release. Counsel attempted to call the facility but no telephone

number could be located. Instead, counsel sent an email to the facility on May

14, 2020, asking for a response to the request for compassionate release.

Counsel’s request also has been ignored. This is consistent with the BOP


1
    See https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-at-higher-risk.html

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history of ignoring requests for compassionate release. This motion was filed on

the 31st day from the original request, in compliance with 18 U.S.C. §

3582(c)(1)(A)(i).

        There is no doubt that the COVID-19 pandemic is extraordinary, having

killed tens of thousands of people in the United States in recent months. It is

clear, as well, that Mr. Waksmundzki’s medical condition renders him

significantly more vulnerable than the average person to contract COVID-19

and also to suffer the worst of its complications.

        In addition, there is no doubt that a congregate prison environment is

inherently unsuited to protecting against the COVID-19 virus. (See Exhibit C,

Infection Chart prepared by the Federal Defender Service). The virus is

particularly insidious because of its invisible transmission by people who are

infected but who do not feel or show any ill effect. Notwithstanding any

precautions taken by the BOP to reduce the likelihood of an outbreak at its

facilities, the fact remains that North Lake CI is a Covid-19 hotspot where the

virus may spread rapidly once a single person is infected. CI North Lake has

already sustained a significant outbreak of COVID-19 infections. As of May 29,

2020, the BOP reported that 22 inmates have contracted the Covid-19 virus.

New outlets recently reported that North Lake CI suffered its first Coivd-19

related death.2 In addition, although the Bureau of Prisons claims no staff are

infected, Robert Waksmundzki reports that numerous guards have gotten ill

and left, leaving the facility extremely short-staffed and resulting in the inmates

2
  See https://patch.com/michigan/across-mi/baldwin-prison-confirms-1st-inmate-covid-19-death and
https://www.interlochenpublicradio.org/post/inmate-death-reported-north-lake-correctional-facility

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being on lock-down most of the time. Robert Waksmundzki has seen the staff

constantly working 12 hour shifts due to the crisis. Since North Lake CI is a

privately run facility operated by the GEO Group, it is possible the guards are

not considered BOP staff.3 On April 21, 2020, Interlochen Public Radio

reported that the GEO Group said five prison employees had contracted Covid-

19 the virus. Social distancing is not possible at North Lake, where prisoners

share shower facilities and telephones and laundry is washed by other inmates.

        When the court sentenced Mr. Waksmundzki to a term of imprisonment,

it certainly did not intend to sentence him to a significant risk of death or

disability due to an infection at a federal prison facility. Mr. Waksmundzki’s

medical conditions and evidence of numerous infections at CI North Lake, and

North Lake’s inability to provide medical care, amount to “extraordinary and

compelling reasons” for a sentence reduction, especially in light of the fact that

only eight more months remain in Mr. Waksmundzki’s prison term.

        When the sentencing factors under 18 U.S.C. § 3553 are applied, it

shows that Mr. Waksmundzki merits relief. First, as to what is a just

punishment and deterrence, Mr. Waksmundzki has already been placed in

severe conditions that would deter any rational person, including him.

Because of the restrictions imposed at CI North Lake due to the COVID-19

crisis, he does not have access to prison programs. As a person who self-

surrendered, he was required to spend 14 days in solitary as a quarantine

3
  On April 21, 2020, Interlochen Public Radio reported that the GEO Group said five prison employees had
contracted Covid-19 the virus. See https://www.interlochenpublicradio.org/post/9-north-lake-correctional-facility-
inmates-test-positive-covid-19


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measure. And, as shown in Exhibit B, he has no access to necessary medical

care. If Mr. Waksmundzki remains at CI North Lake, he will likely remain

under severe conditions of confinement while the facility maintains intensive

quarantine procedures to reduce the likelihood of more COVID-19 infections.

Although the GEO Group has refused to release information about North Lake

CI, news reports describe conditions that are so bad that they triggered a

hunger strike by some inmates.4 In addition, Mr. Waksmundzki forfeited a

huge sum of money, $853,059.58 seized by the Government, approximately

$480,763.53 in Chase checking account, and one 2014 Porsche Carrera S.

Restutution in the amount of $194,166 was ordered. Also, as a legal resident

but non-citizen, he may face deportation in the future.

        As to the issue of danger under 18 U.S.C. § 3142(g), the court should

find that Mr. Waksmundzki is not a danger to the public. He was convicted of

non-violent financial crimes. According to the Presentence Report, he had zero

criminal history points at his sentencing. He has never even been arrested until

this case.

        If released, Mr. Waksmundzki could live alone at his house located at

10538 S. Vicky Lane, Palos Hills, Illinois. If it is deemed wise, he could

quarantine there for 14 days so as not to put at risk any probation officer.




4
 See ‘It’s hell’:COIVD-19 concerns grow at federal immigrant prison in Baldwin” at
https://www.michiganadvance.com/2020/05/10/its-hell-covid-19-concerns-grow-at-federal-immigrant-prison-in-
baldwin/

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      III.   Conclusion

      For these reasons the defense respectfully moves this court to order the

Bureau of Prisons to release Robert Waksmundzki as soon as is practicable

and under any conditions that the court sees fit to impose.

                                            Respectfully submitted,

                                            s/Steven R. Hunter
                                            Steven R. Hunter


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